                             UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF TENNESSEE

 METROPOLITAN NASHVILLE                          )
 AIRPORT AUTHORITY,                              )
                                                 )
                   Plaintiff,                    )        Case No. 3:20-cv-00809
                                                 )
 v.                                              )        Judge William L. Campbell, Jr.
                                                 )        Magistrate Judge Alistair E. Newbern
 COLONIAL PIPELINE COMPANY,                      )
                                                 )
                   Defendant.                    )
                                                 )

                      PROPOSED INITIAL CASE MANAGEMENT ORDER

         A.        JURISDICTION: The court has jurisdiction pursuant to 28 U.S.C. § 1332(a)

because this action is between citizens of different states and, under the allegations in the

Complaint, the amount in controversy exceeds $75,000, excluding interest and costs.

         B.        BRIEF THEORIES OF THE PARTIES:

         For Plaintiff Metropolitan Nashville Airport Authority:

         Defendant Colonial Pipeline Company (“Colonial”) operates a liquid petroleum pipeline

which runs across Plaintiff Metropolitan Nashville Airport Authority’s (the “Airport”) property

pursuant to an easement agreement. The easement agreement provides in relevant part that

“Colonial shall relocate its easements…at its sole cost and expense upon notification by [the

Airport] that its lines interfere with the expansion, development, and/or construction undertaken

or to be undertaken” by the Airport. The Airport has notified Colonial that it must relocate its

pipeline to make way for the Airport’s renovation and expansion project “BNA Vision.”

         Colonial acknowledged its obligation to relocate the pipeline in 2018, but has since refused

to honor its agreement. This breach of the easement agreement by Colonial threatens material,

immediate and irreparable delays to the Airport’s BNA Vision project. The Airport seeks a



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declaratory judgment that Colonial is required to relocate all or portions of its pipeline at its own

expense to accommodate the Airport’s expansion. Due to Colonial’s history of delay and the

resulting negative impact on the Airport’s expansion, the Airport asks that the Court take all

reasonable steps to expedite the disposition of this matter, including setting a schedule for the

relocation to be completed.

          In a separate action pending before this Court, Case No. 3:20-cv-00666, Colonial asserts

numerous claims--including breach of contract, negligence, trespass, wrongful interference with

easement, implied indemnity, violation of the Oil Pollution Act, and declaratory judgment--against

the Airport and AECOM Technical Services, Inc. (“AECOM”), related to an incident on April 9,

2019, in which the Tennessee Department of Transportation (“TDOT”) inadvertently struck

Colonial’s pipeline while conducting soil test borings on the Airport’s property.

          Colonial contends in this action that the Airport’s acts or omissions related to the pipeline

strike constitute a breach of the easement agreement and therefore its obligation to move the

pipeline has been excused. Colonial has filed a motion to consolidate this action with Colonial’s

pipeline strike action, Case No. 3:20-cv-00666. The pipeline strike action involves questions of

liability, allocation of fault, and calculation of damages unrelated to this declaratory judgment

action.

          The Airport will oppose Colonial’s motion to consolidate and will seek dismissal of

Colonial’s breach of contract claim against the Airport. Properly stated, Colonial’s contract cause

of action is wrongful interference with easement (a tort claim). Even if Colonial had stated a claim

for breach of contract, Colonial is not excused from its obligation to relocate the pipeline, because

the Airport’s alleged breach was not material, was not based on an express contractual condition,

and Colonial has continued to accept the benefit of the easement agreement with knowledge of the

alleged breach.

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       The outcome of the pipeline strike action does not affect Colonial’s obligation to relocate

its pipeline. The two cases do not implicate common questions of law or fact. After multiple

discussions between counsel for Colonial and for the Airport, the Airport contends there is no

potentially overlapping discovery in the two cases. Rather than providing the “speedy hearing of

a declaratory judgment action” contemplated by Federal Rule of Civil Procedure 57, consolidating

the two cases would unnecessarily grant Colonial the ability to delay performance of its contractual

obligations and disrupt the Airport’s expansion. There is no inefficiency or risk of inconsistent

adjudications if the two cases proceed, as they should, on separate tracks.

       For Defendant Colonial Pipeline Company:

       Colonial disputes it is obligated to relocate its pipelines at its sole cost and expense or on

an expedited schedule, as MNAA seeks in its Complaint, for the reasons set forth in Colonial’s

Answer and Counterclaim (Case No. 3:20-cv-00809, ECF No. 8), including:

              As a result of prior pipeline relocations, done at MNAA’s request and/or with

               MNAA’s consent, portions of Colonial’s pipelines that cross MNAA’s property

               are not located within the area covered by the Easement Agreement and are not

               subject to the terms of the Easement Agreement.

              As a result of MNAA’s material breach of the Easement Agreement in connection

               with the April 9, 2019 strike of Colonial’s Line 19 pipeline and resulting release

               of gasoline and contamination, the obligations MNAA seeks to enforce under the

               Easement Agreement have been excused and MNAA’s claims are barred.

              The Easement Agreement does not provide a basis for the relief MNAA seeks as

               to the specific time for relocation of any easement or pipeline.

       As further set forth in Colonial’s Motion to Consolidate in the line strike case (Case No.

3:20-cv-00666, ECF No. 30) and Colonial’s Opposition to MNAA’s Motion to Expedite in this

                                                 3

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case (Case No. 3:20-cv-00809, ECF No. 9), those two cases should be consolidated, and MNAA

is not entitled to have this case proceed on a schedule that is expedited and separate from the

schedule in the line strike case.

       C.       ISSUES RESOLVED: Jurisdiction and venue.

       D.       ISSUES STILL IN DISPUTE: Liability as to the Airport’s claims and Colonial’s

counterclaim.

       E.       INITIAL DISCLOSURES: The parties shall exchange initial disclosures pursuant

to Fed. R. Civ. P. 26(a)(1) on or before

       PLAINTIFF’S POSITION: November 20, 2020.

       DEFENDANT’S POSITION: See Colonial’s position in the Joint Statement Regarding

       Case Management Calendar, filed November 3, 2020.

       F.       CASE RESOLUTION PLAN AND JOINT STATUS REPORTS: The parties are

encouraged to consider the Alternative Dispute Resolution options provided in Local Rule 16.02

through 16.05. If the parties do not propose a detailed plan for resolution of the case in their

proposed initial case management order, the Court will establish case resolution plan

requirements. Approximately fourteen (14) days after the conclusion of fact discovery, the parties

shall submit a joint report confirming that the parties made a good faith attempt to resolve the case.

The joint report shall also state whether the parties believe ADR might assist in resolution of the

case. If a judicial settlement conference is requested in either joint report or separately, the parties

shall also state (i) the reasons why mediation is not feasible; (ii) their proposed timing for

scheduling of the settlement conference; and (iii) any preference of a particular Magistrate Judge

to conduct the settlement conference.

       G.       DISCOVERY: The parties shall complete all written discovery and depose all fact

witnesses on or before

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       PLAINTIFF’S POSITION: January 29, 2021

       DEFENDANT’S POSITION: See Colonial’s position in the Joint Statement Regarding

       Case Management Calendar, filed November 3, 2020.

      Written discovery should proceed promptly (unless otherwise provided for herein) and shall

be served by no later than

       PLAINTIFF’S POSITION: December 4, 2020

       DEFENDANT’S POSITION: See Colonial’s position in the Joint Statement Regarding

       Case Management Calendar, filed November 3, 2020.

       Discovery is not stayed during dispositive or other motions, unless ordered by the Court.

       No discovery disputes may be brought to the Court for resolution before lead counsel for

all parties has conducted an in-person meeting and made a good faith effort to resolve any

dispute(s). Discovery disputes that cannot be resolved after the in-person meeting should be

brought promptly to the attention of the Magistrate Judge by a request for a discovery conference.

It will be within the Magistrate Judge’s discretion whether to allow for the filing of discovery-

related motions.

       All discovery motions shall be filed by no later than

       PLAINTIFF’S POSITION: February 12, 2021

       DEFENDANT’S POSITION: See Colonial’s position in the Joint Statement Regarding

       Case Management Calendar, filed November 3, 2020.

       In connection with any discovery conference or discovery motion, the parties shall file a

joint discovery dispute statement, which describes the specific discovery request(s) in dispute and

details each party’s position with supporting facts and legal authorities. The joint discovery dispute

statement shall certify that lead counsel for all parties conducted the aforementioned in-person

meeting and made a good faith effort to resolve each discovery dispute presented in the statement.

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If the joint statement is sufficiently detailed, any party may adopt by reference the joint statement

for purposes of Local Rule 7.01, but must clearly state in the filing made in accordance with the

timing requirements of Local Rule 7.01 that the joint statement is adopted as the party’s

memorandum of law or response.

        H.      MOTIONS TO AMEND OR TO ADD PARTIES: Any motions to amend or to add

parties shall be filed by no later than

        PLAINTIFF’S POSITION: December 15, 2020

        DEFENDANT’S POSITION: See Colonial’s position in the Joint Statement Regarding

        Case Management Calendar, filed November 3, 2020.

        Any motion to amend must be accompanied by the proposed amended pleading, which

shall be appended as an exhibit to the motion. Prior to filing the motion to amend, counsel for the

moving party shall discuss the proposed amendment with all other counsel and shall state in the

motion to amend whether or not the motion is opposed.

        I.      DISCLOSURE AND DEPOSITIONS OF EXPERTS: The plaintiff shall identify

and disclose all expert witnesses and expert reports on or before

        PLAINTIFF’S POSITION: February 26, 2021

        DEFENDANT’S POSITION: See Colonial’s position in the Joint Statement Regarding

        Case Management Calendar, filed November 3, 2020.

        The defendant shall identify and disclose all expert witnesses and reports on or before

        PLAINTIFF’S POSITION: March 26, 2021

        DEFENDANT’S POSITION: See Colonial’s position in the Joint Statement Regarding

        Case Management Calendar, filed November 3, 2020.

        Rebuttal experts shall be permitted only by leave of court. Unless otherwise provided for

in a separate pretrial order, supplemental expert disclosures, which specifically include, but are not

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limited to, any supplemental information to expert reports, must be made in accordance with Rule

26(a) and (e). Supplemental expert opinions or other expert disclosures not timely disclosed may

be excluded at trial. See Local Rule 39.01(c)(5.C). Expert depositions shall be completed by April

30, 2021.

        J.      SUBSEQUENT CASE MANAGEMENT CONFERENCE: A subsequent case

management conference shall be held telephonically on

        PLAINTIFF’S POSITION: January 15, 2021

        DEFENDANT’S POSITION: See Colonial’s position in the Joint Statement Regarding

        Case Management Calendar, filed November 3, 2020,

        to address: status of discovery (including any known or anticipated discovery issues or

disputes); prospect for settlement (including propriety of ADR); and, any other appropriate

matters. Plaintiff’s counsel shall initiate the call.

        K.      DISPOSITIVE MOTIONS: As provided above, the parties must attempt to resolve

the case prior to the filing of dispositive motions. Dispositive motions shall be filed by no later

than

        PLAINTIFF’S POSITION: March 1, 2021

        DEFENDANT’S POSITION: See Colonial’s position in the Joint Statement Regarding

        Case Management Calendar, filed November 3, 2020.

        Responses to dispositive motions shall be filed within 28 days after the filing of the motion.

Briefs or memoranda of law in support of or in opposition to a dispositive motion shall not exceed

25 pages. Optional replies may be filed within 14 days after the filing of the response and shall not

exceed 5 pages. No motion for partial summary judgment shall be filed except by permission of

the Court. Any party wishing to file such a motion shall first file a separate motion that gives the



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justification for filing a partial summary judgment motion in terms of overall economy of time and

expense for the parties, counsel, and the Court.

       L.      ELECTRONIC DISCOVERY: The parties anticipate reaching an agreement on

how to conduct electronic discovery. Administrative Order No.174-1 therefore need not apply to

this case. In the absence of an agreement, the default standards of Administrative Order No. 174-

1 will apply. Any agreement between the parties to address the topics provided by Administrative

Order No. 174-1 must be reduced to writing, signed by counsel, and either filed as a stipulation of

agreed-upon electronic discovery procedures, or, if the parties request court approval, submitted

as proposed agreed order with an accompanying motion for approval.

       M.      MODIFICATION OF CASE MANAGEMENT ORDER: Any motion to modify

the case management order or any case management deadline shall be filed at least seven (7) days

in advance of the earliest impacted deadline. Unless a joint motion, the motion for modification

must include a statement confirming that counsel for the moving party has discussed the requested

modification or extension with opposing counsel and whether or not there is any objection to the

requested modification or extension. The motion for modification must also include: (i) the trial

date and all deadlines, even unaffected deadlines, so that it will not be necessary for the Court to

review one or more previous case management orders in consideration of the motion and (ii) a

statement that the requested extension will still conform to the requirements of Local Rule

16.01(h)(1) that no dispositive motion deadline, including response and reply briefs, shall be later

than 90 days in advance of the trial date. Motions for extensions should also detail the moving

party’s efforts at diligently complying with the originally schedule deadline and the facts

demonstrating good cause for modification of the deadline as required by Fed. R. Civ. P. 16(b)(4).

       N.      REQUESTS TO SEAL DOCUMENTS OR PORTIONS OF DOCUMENTS: Any

party requesting that documents or portions of documents be sealed, including without limitation

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for use as exhibits at trial, must file a motion to seal in accordance with Section 5.07 of

Administrative Order No. 167 (Administrative Practices and Procedures for Electronic Case

Filing) and Local Rule 7.01, which demonstrates compelling reasons to seal the documents and

that the sealing is narrowly tailored to those reasons. The motion to seal, even if unopposed, must

specifically analyze in detail, document by document, the propriety of secrecy, providing factual

support and legal citations. Generally, only trade secrets, information covered by a recognized

privilege (such as the attorney-client privilege), and information required by statute to be

maintained in confidence is typically enough to overcome the presumption of public access.

Failure to comply with these procedures or to provide sufficiently compelling reasons may result

in denial of the request to seal documents or portions of documents. Protective orders should not

provide that documents produced in discovery and designated as “confidential” will be

automatically sealed upon filing or if used at trial. Any such language in proposed protective orders

will be stricken and may result in denial of the motion for entry of the proposed protective order.

       O.      ESTIMATED TRIAL TIME AND TARGET TRIAL DATE: The trial of this action

is expected to last approximately

       PLAINTIFF’S POSITION: 2 days

       DEFENDANT’S POSITION: See Colonial’s position in the Joint Statement Regarding

       Case Management Calendar, filed November 3, 2020.

       A trial date no earlier than ________________ is respectfully requested.1



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  The parties were also reminded during the case management conference of their option to consent
to final disposition by the Magistrate Judge pursuant to Fed. R. Civ. P. 73 and Local Rule 73.01.
As discussed, if the parties wish to utilize this option, they may jointly complete and electronically
file the form Notice, Consent and Reference of a Civil Action to a Magistrate Judge found on the
Court’s website under the link for Forms. Not consenting will not result in any adverse
consequences, and the Notice should be filed only if all parties consent to final disposition by the
Magistrate Judge.
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   PLAINTIFF’S POSITION: JULY 15, 2021

   DEFENDANT’S POSITION: See Colonial’s position in the Joint Statement Regarding

   Case Management Calendar, filed November 3, 2020.

   It is so ORDERED.



                                     United State Magistrate Judge




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on November 3, 2020, a copy of the foregoing was filed electronically.
Notice of this filing will be sent by operation of the Court’s electronic filing system to all parties
indicated on the electronic filing receipt. All other parties will be served by regular U.S. mail.
Parties may access this filing through the Court’s electronic filing system.

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